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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY M. REIF, JUDGE
_________________________________________
BYUNGMIN CHAE,                            :
                                          :
                                          :
                 Plaintiff,               :                      Court No. 20-00316
                                          :
           v.                             :
                                          :
SECRETARY OF THE TREASURY,                :
                                          :
                 Defendant.               :
_________________________________________ :

                                              ORDER

       Upon consideration of defendant’s motion to correct the record, it is hereby

       ORDERED that defendant’s motion is granted, and it is further

       ORDERED that the agency administrative record in this proceeding is corrected to

include the document attached to the motion as Exhibit A, and the declaration certifying the

record attached to the motion as Exhibit B.


Dated: ________________________
         New York, New York                                      Timothy M. Reif, Judge
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY M. REIF, JUDGE
_________________________________________
BYUNGMIN CHAE,                            :
                                          :
                                          :
                 Plaintiff,               :                       Court No. 20-00316
                                          :
           v.                             :
                                          :
SECRETARY OF THE TREASURY,                                                  :
                                          :
                 Defendant.               :
_________________________________________ :


                 DEFENDANT’S MOTION TO CORRECT THE RECORD

       Defendant, Secretary of the Treasury, respectfully moves this Court pursuant to USCIT

Rules 7(b) and 73.3 to correct the administrative record of this proceeding to include the April

2018 Customs Broker License Examination Series 840, Exhibit A. We have also attached as

Exhibit B a declaration from Jennelle Cray, the representative from the U.S. Customs and Border

Protection (CBP) certifying the completeness of the administrative record with the inclusion of

this document. We regret any inconvenience that may result from filing this motion. We do not

request additional briefing based upon this document or wish to modify our prior brief or

positions in any way. Instead, we seek to include the exhibit in the record only so that the Court

will have an accurate and complete record.

       On February 18 and 23, 2022, undersigned counsel conferred with Mr. Matthew Moench,

Esq. of King, Moench, Hirniak & Mehta, LLP, counsel for plaintiff, via email and telephone to

discuss the administrative record and Question 5 of the exam, and to obtain plaintiff’s position

on the relief requested in this motion. Mr. Moench advised that plaintiff does not consent to the

inclusion of the entire April 2018 Customs Broker License Examination Series 840 in the record.
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Plaintiff only consents to the inclusion of the page on which Question 5 appears.

          On September 1, 2021, the Government filed the administrative record in this matter,

which constitutes the “records considered by the Executive Assistant Commissioner, Office of

Trade, U.S. Customs and Border Protection, rendering her decision upholding the U.S. Customs

and Border Protection denial of the Customs Broker License Exam appeal” in this case.”

Declaration of Sharolyn McCann dated August 19, 2021 (ECF No. 36). Plaintiff filed its motion

for judgment on the agency record on October 1, 2021, defendant filed its response to plaintiff’s

motion on November 5, 2021, and the Court will hear oral argument on February 24, 2022. In

advance of the oral argument, on February 17, 2022, the Court issued a letter containing

questions that will be addressed by the parties during the oral argument. While reviewing the

Court’s questions, the Government consulted the actual April 2018 Customs Broker License

Examination and realized that the examination was not in the administrative record. The April

2018 Customs Broker License Examination should have been included in the record because it

was considered indirectly by CBP when it rendered its decision denying plaintiff’s administrative

appeal.

          Whether to permit correction of the record is an evidentiary matter that is a discretionary

determination by this Court. Axiom Resource Management, Inc. v. United States, 564 F.3d 1374,

1378 (Fed. Cir. 2009) (citing Murakami v. United States, 398 F.3d 1342, 1346 (Fed. Cir. 2005).

A court’s determination of an evidentiary matter constitutes an abuse of discretion if it is

“‘clearly unreasonable, arbitrary or fanciful, or is ‘based on an erroneous construction of the

law.’” Axiom, 564 F.3d at 1378 (quoting Air Land Forwarders, Inc. v. United States, 172 F.3d

1338, 1341 (Fed. Cir. 1999)).
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       The administrative record consists of documents that were “directly or indirectly

considered by the [agency] decisionmaker(s).” Pacific Shores Subdivision California Water

District v. United States Army Corps of Engineers, 448 F. Supp. 2d 1, 7 (D.D.C. 2012); JSW

Steel (USA) Inc. v. United States, 466 F. Supp. 3d 1320, 1328 (Ct. Int’l Trade 2020)

(administrative record includes documents considered directly or indirectly) (citing Ammex, Inc.

v. United States, 62 F. Supp. 2d 1148, 1156 (Ct. Int’l Trade 1999)). Here, granting the

Government leave to “correct” or “complete” the record is appropriate because CBP considered

the April 2018 exam when it considered plaintiff’s appeals. Center for Native Ecosystems v.

Salazar, 711 F. Supp. 2d 1267, 1274 n.7 (D. Colo. 2010) (explaining the difference between

“completing” versus “supplementing the record”) (citing The Cape Hatteras Access Preservation

Alliance v. U.S. Dep’t of Interior, 667 F. Supp. 2d 111, 114 (D.D.C. 2009)); Joint Venture of

Comint Sys., Corp. v. United States, 100 Fed. Cl. 159, 167 (Fed. Cl. 2011) (“Incorporating

materials into the administrative record that were previously omitted is not novel.”). Thus, our

motion is distinguishable from a situation in which the moving party seeks to modify the

administrative record with outside materials that were not considered by the agency decision

maker, which are disfavored. See AgustaWestland North America, Inc. v. United States, 880

F.3d 1326, 1331 (Fed. Cir. 2018) (explaining that “supplementation of the record should be

limited to cases in which the omission of extra-record evidence precludes effective judicial

review.”) (internal quotation omitted).
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       For these reasons, we respectfully request that the Court grant this motion to correct the

administrative record and deem the document attached as Exhibit A as part of the administrative

record along with the declaration attached as Exhibit B.

                                                 Respectfully submitted,

                                                 BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General

                                                 PATRICIA M. MCCARTHY
                                                 Director

                                                 JUSTIN R. MILLER
                                                 Attorney-In-Charge,
                                                 International Trade Field Office

                                      By:        /s/ Aimee Lee
                                                 AIMEE LEE
                                                 Assistant Director

                                                 /s/ Marcella Powell
                                                 MARCELLA POWELL
                                                 Senior Trial Counsel
                                                 Civil Division, Dept. of Justice
                                                 Commercial Litigation Branch
                                                 26 Federal Plaza, Room 346
                                                 New York, New York l0278
                                                 Attorneys for Defendant
 Dated: February 25, 2022                        Tel. No. 2l2-264-9230 or 1873
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                    EXHIBIT A
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    ADMINISTRATIVE RECORD
           EXHIBIT N
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Series 840
April 25, 2018

            U.S. CUSTOMS AND BORDER PROTECTION
___________________________________________________________________
                  Customs Broker License Examination

                      DIRECTIONS - READ CAREFULLY

This examination consists of 80 questions. The minimum passing score is 75%. For each
question choose the letter representing your answer (A, B, C, D, or E). There is no penalty for
guessing; therefore, you should attempt to answer every question. Each question has a single
best answer.

You are responsible for having the following references:

- Harmonized Tariff Schedule of the United States (2017 Basic Edition, No Supplements)

- Title 19, Code of Federal Regulations (2016 Revised as of April 1, 2016 or 2017)

- Instructions for Preparation of CBP Form 7501 (July 24, 2012)

- Right to Make Entry Directive 3530-002A

You have four and a half (4.5) hours to complete this examination.

In addition to the 80 exam questions, U.S. Customs and Border Protection (CBP) will be
administering six voluntary process evaluation questions. The first three questions, located in
Section 1, will take place before you begin the test. The last three survey questions, located in
Section 3, will take place after you complete the test, but within the test timeframe. Each set of
questions is expected to take no longer than 2 minutes each. The purpose of the survey questions
is to inform future testing processes. These survey questions are completely voluntary and will
have NO impact on your scores.DO NOT TURN THIS PAGE UNTIL TOLD TO DO SO BY
THE EXAMINER.
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                    Section 1: Pre-Examination Process Evaluation Survey

This survey is administered to collect information about the examination process. The survey is
voluntary and your responses will have no impact on your score.

1) What is your background regarding Customs laws and regulations?

   A)   Former CBP employee
   B)   Currently works or has worked for a broker in the past
   C)   Currently works or has worked for an importer on trade issues in the past
   D)   No working experience with Customs laws and regulations
   E)   Currently works or has worked for both broker and importer in the past

2) How did you prepare for the Customs Broker Examination?

   A)   Took an in-person course through an educational institution
   B)   Took an online course through an educational institution
   C)   Self-prepared
   D)   Did not spend time preparing for examination

 3) Approximately how many hours did you spend preparing for
    the examination?
    A) 1-10
    B) 11-25
    C) 26-100
    D) More than 100
    E) Did not spend time preparing for examination
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                      Section 2: Customs Broker License Examination


Category I – Broker Compliance                         Questions 1 - 8


Category II – Practical Exercise                       Questions 9 - 16


Category III – Anti-Dumping/Countervailing Duties      Questions 17 - 19


Category IV – Entry                                    Questions 20 - 29


Category V – Classification                            Questions 30 - 44


Category VI – Value                                    Questions 45 - 50


Category VII – Drawback                                Questions 51 - 53


Category VIII – Intellectual Property Rights           Questions 54 - 58


Category IX – Bonds                                    Questions 59 - 61


Category X – Free Trade Agreements                     Questions 62 - 65


Category XI – Fines and Penalties                      Questions 66 - 69


Category XII – Foreign Trade Zones/Warehouses          Questions 70 - 73


Category XIII – Marking                                Questions 74 – 77


Category XIV – Power of Attorney                       Questions 78 – 80
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                               Category I – Broker Compliance


1. You, the broker, decide to open an office at a port within a district for which you already have
a permit. Which of the following information about your employees do you NOT need to
submit to the Port Director in that district prior to transacting business?

       A. Social Security Number
       B. Date and place of birth
       C. Date and place of broker exam
       D. Current home address and last prior home address
       E. Name and address of each prior employer and dates of employment for the previous 3
          years


2. Which of the following will not provide for revocation of the broker’s permit?
       A. Nonpayment of the user fee.
       B. Neglecting to obtain a timely permit waiver.
       C. Neglecting to advise CBP of the replacement permit qualifier within 120 days of loss
       D. Nonpayment of permit qualifiers triennial fee
       E. Neglecting to advise CBP of a replacement permit qualifier within 180 days of loss
3. In the case of a new employee, a customs broker must notify the CBP port director that the
broker has hired the new employee within _____.

       A. Five calendar days after the new employee has been employed by the broker for 60
          consecutive days
       B. Seven calendar days of hiring the new employee
       C. Ten working days of hiring the new employee
       D. Ten calendar days after the new employee has been employed by the broker for 30
          consecutive days
       E. 30 calendar days of hiring the new employee


4. Payment for the __________________ is required every three years.
       A.   Local Permit fee
       B.   National Permit fee
       C.   Merchandise Processing fee
       D.   Triennial Status Report fee
       E.   Harbor Maintenance fee
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5. Which of the following customs transactions is NOT required to be performed by a licensed customs
broker?

       A. Temporary Importation under Bond
       B. Transportation in bond
       C. Permanent Exhibition Bond
       D. Trade Fair Entry
       E. Foreign Trade Zone Entry


6. Bills resulting from dishonored checks or dishonored Automated Clearinghouse (ACH)
transactions are due?
       A. within 10 days of the date of issuance of the bill
       B. within 30 days of the date of issuance of the bill
       C. within 15 days of the date of issuance of the bill
       D. within 2 days of the date of issuance of the bill
       E. within 20 days of the date of issuance of the bill

7. What statement is FALSE?
       A. District means the geographic area covered by a customs broker permit other than a
           national permit
       B. Employee of Broker, acting solely for his employer, is not required to be licensed
       C. In order for a corporation to qualify for a broker’s license all officers must be a
          broker
       D. In order to obtain a broker’s license an individual must be of good moral character
       E. The status report fee is $100.00 to defray the cost of administering the reporting
          requirement.


8. Which of the following is NOT a factor that is indicative of a lack of supervision or lack of
working knowledge of customs procedures for which CBP may issue a $5,000 penalty against a
broker?

   A. A high rate of late filing liquidated damages cases when compared with other brokers in
      the permitted district
   B. A high rate of entry rejections when compared with other brokers in a permitted district
   C. Failure to settle liquidated damages claims in a timely manner
   D. An inordinate number of entries for which free entry is claimed with documentation
   E. A high number of missing entry summary documents when compared with other brokers
      in the permitted district
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                                     Category II – Practical Exercise
Use the below-identified commercial invoice to answer questions 9 through 13.



                             BLUE CREST EXPORTS, LTD. Schenzhen,
                                           China
     Shipper/Exporter                               No. and Date of Invoice
     Blue Crest Exports, Ltd.                       US0001E       February 14, 2017
     Bldg. 45, No 8002 Shennan Rd.
     Futian District, Shenzhen, China               Marks and No. of Pkgs.
     For Account and Risk of Messers                Subject to Antidumping Duty A-570-831 at
     Rosa’s Italian Kitchen                         0.06 $/kg.
     5423 Mission                                   L/C Issuing Bank
     S. San Francisco, CA 45682
     Notify Party
     James Brokers, Inc.
     658 Adams Plaza                                Remarks
     Dallas, TX 78045                               DDP San Francisco
                                                    P/O No.: OMAL587236
     Port of Lading         Final Destination
                                                    Chinese Origin
     Qingdao, China         Oakland, CA

     Carrier                Departure on or about
     COSCO                  February 14, 2017       Agricultural Farm
                                                    …..

     Description of Goods                           Quantity         Unit Price       Amount

     Fresh whole chilled garlic bulbs packed
     in water. Shipped in bulk                       25,719 kgs.        49,167 USD



                                                TOTAL                                     $49,167
     Master Bill: 001-63324833
     House Bill: COSC6676406
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9. What is the CLASSIFICATION of the imported merchandise?

       A. 0703.20.0015
       B. 0703.20.0020
       C. 0703.20.0090
       D. 0712.90.4040
       E. 2005.99.9700


10. The port code to be identified in Block 20 of CBP Form 7501 is _______.

       A. 0901
       B. 1808
       C. 2811
       D. 3881
       E. 5501


11. The amount of the harbor maintenance and merchandise processing fees is _____.

       A. $61.46
       B. $86.46
       C. $103.25
       D. $231.77
       E. $340.62


12. The amount of the duty due to U.S. Customs and Border Protection is _____________.

       A. $110.59
       B. $342.36
       C. $5506.70
       D. $11059.17
       E. $14651.77

13. The antidumping duty amount is _____________.

       A. $15.43
       B. $1,543.14
       C. $1824.04
       D. $2950.02
       E. $3402.01
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Use the below-identified abbreviated CBP Form 7501 “Entry Summary” to answer questions 14
through 16.

 DEPARTMENT OF HOMELAND SECURITY U.S.                         1. Filer Code / EntryNo.   2. Entry Type    3. Summary Date
 Customs and Border Protection                                ABC-1234567-8              01 ABI/A         01/17/17
 ENTRY SUMMARY                                                4. Surety      5 Bond      6. Port Code     7. Entry Date
                                                              No. 891        Type 8      3901             01/04/17
 8. Importing Carrier MAERSK        9. Mode of Transport 11   10. Country of Origin ID                    11. Import Date
 SENANG                                                                                                   01/02/17
 12. B/L or AWB No.                 13. Manufacturer ID       14. Exporting Country MY                    15. Export Date
 MAEU751824346                      IDBAKFUR5896JAK                                                       12/03/16
 16. I.T. No.              17. I.T. Date   18 Missing Docs    19. Foreign Port of Lading55700      20. U.S. Port of Unlading
 V0670830522               01/02/17                                                                3001
 21. Location of Goods/GO No.       22. Consignee No. SAME    23. Importer No. XX-XXXXXXX-         24. Reference No.
 H572 BNSF LOGISTICS PARK -
 CHI                                                          00
 26. Ultimate Consignee Name and Address City StateTX Zip     26. Importer of Record Number and Address
                                                              INSIDE INTERIORS, INC. 602 AVENUE J
                                                               City LUBBOCKStateTXZip 79401


14. Which date is used for calculating the applicable rate of duty?

          A. Export
          B. Import
          C. Entry
          D. Entry Summary
          E. Immediate Transportation

15. Block 39 of CBP Form 7501 should reflect which Fee Class Code?

          A. 012
          B. 013
          C. 311
          D. 501
          E. 610

16. What is the entered merchandise?

          A. Extruded rubber thread from Malaysia that is subject to an antidumping duty
          B. Oil circular tubular goods from Indonesia subject to a countervailing duty
          C. Tuna caught in Indonesian waters that is subject to a tariff rate quota
          D. Women’s apparel that is placed in a foreign trade zone
          E. Wooden bedroom furniture from Indonesia
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                     Category III – Anti-Dumping/Countervailing Duties


17. If CBP believes that acceptance of an antidumping entry secured by a continuous bond would
place the revenue in jeopardy or otherwise hamper the enforcement of applicable laws or
regulations, CBP shall require additional security pursuant to_______________.
       A. 19 CFR 151.65
       B. 19 CFR 113.13(d)
       C. 19 CFR 152.101(3)
       D. 19 CFR 351.203(a)
       E. 19 CFR 351.205(b)(1)

18. The determination of the applicable AD/CVD investigations or orders is governed by the
“time of entry” according to which:
       A. 19 CFR 142.3 and 19 CFR 158.41
       B. 19 CFR 141.0(a) and 19 CFR141.20
       C. 19 CFR 159.10 and 19 CFR141.62
       D. 19 CFR 141.68 and 19 CFR 151.69
       E. 19 CFR 132.4 and 19 CFR 10.31

19. Company A imported seven ball bearings with integral shafts from Germany, which are
classified under subheading 8482.10.1080, Harmonized Tariff Schedule of the United States, at a
2.4 percent ad valorem duty rate and are subject to antidumping duties. The ball bearings are
shipped by air and formally entered at John F. Kennedy International Airport. The total value of
the shipment is $5,798.00. The applicable antidumping duty cash deposit rate is 68.89 percent.
What are the total amount of fees and estimated duties that should be reported on CBP Form
7501?


           A.   $4,019.24
           B.   $3,994.24
           C.   $4133.39
           D.   $4,158.39
           E.   $164.15
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                                      Category IV – Entry


20. Absolute Quota merchandise imported in excess of the admissible quantity must be disposed
    of using an approved method. Which of the following is not an approved method of
disposal?

       A.   Place into a Foreign Trade Zone, until the next quota opening period
       B.   Enter into a Warehouse, until the next quota opening period
       C.   Enter into the U. S. Commerce
       D.   Exported under Customs supervision
       E.   Destroyed under Customs supervision

21. Which part of 19 CFR addresses Inspection, Search, and Seizure?
       A. 112
       B. 128
       C. 133
       D. 134
       E. 162

22. Whenever goods subject to different rates of duty are so packed together that the quantity or
value of each class of goods cannot be readily ascertained by customs officers by means
sampling, verification of packing lists, or commercial settlement tests, then the commingled
goods shall be subject to _________.


       A. the lowest rate of duty applicable to any part of the shipment
       B. the average rate of duty applicable to any part of the shipment
       C. the highest rate of duty applicable to any part of the shipment
       D. 10% the value of the shipment
       E. 100% the value of the shipment
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23. Under which situation below would HTSUS General Notes 3(e)(v) apply?
      A. Merchandise was exported from Houston, TX on December 30, 2014, and arrived in
         Panama City, Republic of Panama, on January 10, 2015. The merchandise was
         released by the Panamanian National Customs Authority and moved to the
         consignee’s warehouse where the sale was canceled by the purchaser. The
         merchandise was returned to the carrier and returned to Houston, TX on
         January 25, 2015.
      B. Merchandise was exported from Houston, TX on December 30, 2014, and arrived in
         Panama City, Republic of Panama, on January 10, 2015. The merchandise remained
         in possession of the carrier at the shipping terminal where the sale was canceled. The
         merchandise was returned to Houston, TX on February 20, 2015.
      C. Merchandise was exported from Houston, TX on December 30, 2014, and arrived in
         Panama City, Republic of Panama, on January 10, 2015. The merchandise remained
         in possession of the carrier at the shipping terminal where the sale was canceled. The
         merchandise was returned to Houston, TX on February 6, 2015.
      D. Merchandise was exported from Houston, TX on December 30, 2014, and arrived in
         Panama City, Republic of Panama, on January 10, 2015. The merchandise was
          released by the Panamanian National Customs Authority and delivered to the buyer at
          the buyer’s storage facility. The carrier realized that the wrong merchandise was
          delivered to the buyer and immediately notified the buyer of the error. The buyer
          returned the merchandise to the carrier with the original seal intact. The carrier
          shipped the merchandise back to Houston, TX on February 6, 2015.
      E. Merchandise was exported from Houston, TX on December 30, 2014, and arrived in
         Panama City, Republic of Panama, on January 10, 2015. The merchandise was held
         by Panamanian National Customs Authority and determined to be inadmissible into
         Panama. The container was returned by Panamanian Customs directly to the carrier
         and shipped back to Houston, TX on February 26, 2015.
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24. Loudspeakers mounted in an enclosure were previously exported from the U.S. to Canada for
repairs. The repaired speakers are re-exported to the U.S. and the importer claims preferential
treatment under the North American Free Trade Agreement. The speakers are classifiable under
subheading 8518.21.00 of the Harmonized Tariff Schedule of the United States (HTSUS),
dutiable at 2.4% ad valorem. The importer enters the speakers under subheading 9802.00.50,
HTSUS and substantiates the claim. The speakers are appraised at $8,000.00 and the value of the
repairs is $1,800.00. What is the consumption duty on this merchandise?
   A.   $0.00
   B.   $43.20
   C.   $235.20
   D.   $192.00
   E.   $148.80

25. A nominal consignee is unable to secure the services of a broker to make entry on his behalf.
What option is available to the nominal consignee?

   A. He may make entry as the importer of record
   B. He may notify the purchaser of the goods to designate him as the importer of record
   C. He may serve as the ultimate consignee
   D. He may notify the owner or the purchaser to designate a licensed Customs broker to
      make entry
   E. He may secure the permission of the actual owner of the goods to be importer of record



26. Which of the following is eligible for informal entry?

   A. Shipments of commercial merchandise valued between $3,000 and $9,500
   B. Personal effects not exceeding $2,500 in value of citizens who have died abroad.
   C. An open container of 100 cigars for personal use by, and in the possession of, a
      crewmember upon arrival of the vessel
   D. Antique 1940s furniture shipped from Italy, valued at $10,000
   E. Household effects used abroad and imported in pursuance of an agreement for purchase.
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27. Which of the following mail articles are not subject to examination or inspection by
Customs?

   A. Bona-fide gifts with an aggregate fair retail value not exceeding $800 in the country of
      shipment
   B. Mail packages addressed to officials of the U.S. Government containing merchandise
   C. Diplomatic pouches bearing the official seal of France and certified as only containing
      documents
   D. Personal and household effects of military and civilian personnel returning to the United
      States upon the completion of extended duty abroad
   E. Plant material imported by mail for purposes of immediate exportation by mail

28. Which of the following scenarios is NOT subject to NAFTA restrictions on the duty referral
program?

   A. Qualifying imported metal-bearing materials placed in a bonded warehouse for smelting
      or refining that is processed and subsequently withdrawn for exportation to Canada or
      Mexico
   B. Merchandise imported from Chile and entered under subheading 9813.00.05 of the
      Harmonized Tariff Schedule of the United States (HTSUS) for repair, alteration and
      processing that is destined for exportation to Canada or Mexico
   C. Merchandise in domestic status that is withdrawn from a foreign trade zone for
      exportation to Canada or Mexico
   D. Merchandise in non-privileged foreign status that is withdrawn from a foreign trade zone
      for exportation to Canada or Mexico
   E. Merchandise in privileged foreign status that is withdrawn from a foreign trade zone for
      exportation to Canada or Mexico

29. Which one of the following is exempt from duties?
   A. Articles exported from the United States which are returned within 45 days after such
      exportation from the United States as undeliverable and which have not left the custody of
       the carrier or foreign customs service
   B. Articles exported from the United States which are returned within 90 days after such
      exportation from the United States as undeliverable and which have not left the custody of
      the carrier or foreign customs service
   C. An individual shipment valued at $1,000
   D. Flowers shipped to the United States for funeral homes
   E. An informal mail entry, not exceeding $2,500 in value
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                                  Category V – Classification


30. What is the CLASSIFICATION for a lace-trimmed bed sheet made from printed, non-
napped 55% cotton and 45% polyester woven fabric?

       A. 6302.10.0008
       B. 6302.21.3020
       C. 6302.21.5020
       D. 6302.21.9020
       E. 6302.31.5020

31. What is the CLASSIFICATION of a men’s sweater vest constructed of 50% polyester, 50%
cotton, knit fabric, the outer surface of which measures 8 stitches per 2 centimeters in the
direction the stitches were formed?

       A.   6110.20.2010
       B.   6110.20.2030
       C.   6110.30.3010
       D.   6110.30.3030
       E.   6211.33.9054

32. What is the CLASSIFICIATION of glazed ceramic mosaic cubes on a mesh backing which
measure approximately 1 centimeter wide by 1 centimeter long by 1 centimeter thick, and have a
water absorption coefficient by weight of .3 percent?

       A. 6802.10.0000
       B. 6907.21.2000
       C. 6907.21.3000
       D. 6907.30.3000
       E. 6914.10.8000

33. What is the CLASSIFICATION of current-production wall art depicting abstract flowers
and birds that is mechanically printed, via lithography, onto sheets of paper, the paper measuring
.35 mm in thickness that have been permanently mounted onto a backing of .50 mm thick
 paperboard?
       A. 4911.91.2040
       B. 4911.91.3000
       C. 4911.99.6000
       D. 9701.10.0000
       E. 9702.00.0000
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34. Company XYZ plans to import an insulated cooler bag constructed with an exterior surface
of textile material that is 55 percent nylon and 45 percent polyester, of man-made fibers. The
bag features a fabric strap and a top zipper closure around three sides. The interior of the bag is
lined with a waterproof plastic sheeting material and has a mesh pocket on one interior wall to
hold a can or bottle in place. The bag is designed to maintain the temperature of food and
beverages during travel.
What is the CLASSIFICATION for the insulated cooler bag?
       A. 3923.29.0000
       B. 4202.92.0807
       C. 4202.92.1000
       D. 4202.92.4500
       E. 6307.90.9889


35. What is the correct CLASSIFICATION of 1 kilogram of peanuts, not roasted or cooked, in
the shell from Brazil imported for personal use to make peanut butter?

       A. 1202.30.0500
       B. 1202.41.0540
       C. 1207.10.0000
       D. 2008.11.0020
       E. 2008.11.4200

36. What is the CLASSIFICATION of full-sized, unshelled, frozen lima beans, of the
Phaseolus genus, entered on June 10, 2017?
       A. 0708.20.1000
       B. 0708.20.9010
       C. 0710.22.1000
       D. 0710.22.1500
       E. 0713.39.2140


37. Which of the following is NOT a feature or requirement listed in the definition of
recreational performance outerwear?
       A. Pockets with a zipper closure
       B. Reinforced knees
       C. Adjustable powder skirt
       D. Sealed inner leg seams
       E. Multi-adjustable hood
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38. What is the CLASSIFICATION of a pair of boys’ 100% polyester trousers with the
following features: water resistant within the meaning of Additional U.S. Note 2 to Chapter 62,
critically sealed seams, hook and loop cargo pockets, outer leg vents, articulated knees,
hidden elastic leg sleeve, and a weatherproof front zipper closure?
       A. 6203.43.0920
       B. 6203.43.1110
       C. 6203.43.1190
       D. 6203.43.7510
       E. 6203.43.7590


39. What is the CLASSIFICATION of a teacup that is made of a porcelain containing 28
percent of tricalcium phosphate, valued at $18, and offered for sale in the same pattern as all of
the other articles listed in Additional U.S. Note 6(b) to Chapter 69, HTSUS, with the aggregate
value of all those articles listed in that note being $900?
       A. 6911.10.2500
       B. 6911.10.3810
       C. 6911.10.5800
       D. 6911.10.8010
       E. 6912.00.4500


40. The submitted sample, identified by the importer as “Zori-style # SF123,” is a pair of
women’s, open-toe/open-heel, and flip-flop thong sandals with foamed rubber or plastic
outer soles. The “V” shaped strap uppers consist of textile straps and thongs which go
between the first and second toes. The upper straps and thongs are assembled to the soles by
rubber/plastic plugs. The thickness of the outer soles of the sample measure 1.75 inches at
the thickest point and 1.25 inches at the thinnest point. Rubber or plastics accounts for more
than 10 percent total weight of the shoe. The F.O.B. value is $6.50 per pair.
What is the CLASSIFICATION subheading, within the Harmonized Tariff Schedule of the
United States (HTSUS), for these sandals?


       A. 6402.20.0000
       B. 6402.99.3165
       C. 6403.20.0000
       D. 6404.19.3960
       E. 6404.19.4260
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41. You have a mixture of the following chemical substances ((1,2-phenylene)bis-
(iminocarbonothioyl)) bis(carbamate) (CAS # 23564-05-8), and 30 percent other additives
and dispersing agents. The main chemical ingredient listed is a fungicide, used to kill
fungus on various plants. In its pure chemical form the main ingredient is an "Organo-sulfur
compounds: Other: Aromatic: Pesticides of Heading 2930. The product is packaged for sale
as imported for retail sale directly to consumers.
In which of the following 6 digit subheadings would you classify the imported product
described above?
       A. 2924.11
       B. 2930.90
       C. 3302.10
       D. 3808.92
       E. 3824.99

42. What is the CLASSIFICATION of a mixture of an essential oil and odoriferous compounds
 obtained from extraction of peach pits, mixed with colorant, and not containing any alcohol,
 for use in the manufacturing of a soda type beverage?

       A. 1507.10.0000
       B. 1511.10.0000
       C. 1518.00.4000
       D. 3302.10.1000
       E. 3824.99.9295

43. What is the CLASSIFICATION of a work glove, made of a synthetic suede (a
non-woven polyester fabric with the textile making up 85% of the weight and the plastic
making up 15%)? The glove features fourchettes, thermo-plastic rubber attachments on
the knuckles on the back side, rubber overlays on the palm side of the thumb, and a cuff with
a hook and loop closure to tighten the glove at the wrist.
       A. 6116.10.7520
       B. 6216.00.2425
       C. 6216.00.2925
       D. 6216.00.5420
       E. 6216.00.5820
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44. What is the CLASSIFICATION of a floor-standing, coin-operated, shoe brushing/polishing
machine used in public places such as hotels and airports, the user inserts the required monetary
payment and places his/her foot onto the foot plate. Using rotating internal brushes powered by
a self-contained electric motor, the machine automatically brushes/polishes the surface and both
sides of the shoe. While waiting for the process to be completed, the user can view material
posted on the machine’s advertising board. The process stops when (1) the user removes his/her
foot or (2) the fixed brushing/polishing time is over.
   A.   8453.20.0000
   B.   8467.29.0035
   C.   8476.89.0000
   D.   8479.10.0080
   E.   8479.89.9499
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                                      Category VI – Value
45. Transaction value means:

       A. The price actually paid or payable for the merchandise
       B. The price actually paid or payable for the merchandise plus buying commissions,
       royalties, assists, packing costs and proceeds
       C. The price actually paid or payable for the merchandise plus selling commissions,
       royalties, assists, packing costs and proceeds
       D. The price actually paid or payable for the merchandise plus selling commissions,
       royalties, packing costs and U.S. inland freight
       E. The price actually paid or payable plus buying commissions, royalties, assists,
       packing and freight costs

46. A U.S. importer and a foreign manufacturer enter into a contract for 500 wooden tables. In
the contract, the manufacturer agrees to provide 500 tables at a price of $500 per table. The
tables are to be delivered in lots of 100 tables on the first of each month for a period of five
months.
The importer provided the foreign manufacturer with an assist in the form of special tools. The
tools were purchased from an unrelated party in Chicago, and delivered for free to the
manufacturer abroad. The tools have a useful life of 500 tables.
Several weeks later, the first shipment under the contract, which contains the first 100 tables,
arrives in the United States.
Which of the following methods of apportioning the assist is NOT acceptable?
       A. Apportion the entire value of the assist to the first 100-table shipment
       B. Apportion the value of the assist over the entire anticipated production
       C. Apportion the entire value of the assist to the second 100-table shipment when it
       arrives
       D. Apportion the value of the assist over the number of units produced up to the time of
       the first shipment
       E. Apportion the value of the assist in another manner in accordance with GAAP
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47. Your client is importing a used aircraft engine manufactured in England from a Canadian
shipper. Your client has accepted the aircraft engine on consignment and has promised to
find a US buyer for the engine. Your client will receive a commission on the sale of 5%. The
asking price for the engine is $90,000. The shipper paid all of the transportation costs
($1,000) from its dock to your client’s dock on a through bill of lading. What is the entered
value of the used aircraft engine?
       A. Under transaction value, the entered value of the aircraft engine is the asking
       price of $90,000
       B. Under transaction value, the dutiable value of the aircraft engine is the asking price of
       $90,000, minus the $1,000 transportation cost, plus the sales commission due the
       importer of $4,500 ($90,000x5%), or $93,500
       C. Under transaction value, the entered value of the aircraft engine is the asking price of
       $90,000, plus the $1,000 transportation cost, plus the sales commission due the
       importer of $4,500 ($90,000 x 5%), or $95,500
       D. Under transaction value, the entered value of the aircraft engine is the asking price of
       $90,000, minus the $1,000 transportation cost, minus the sales commission due the
       importer of $4,500 ($90,000 x 5%), or $84,500
       E. Transaction value cannot be used on a consignment shipment, the entered value of
       the aircraft engine cannot be determined under transaction value and one of the other
       bases of appraisement must be applied

48. A shipment of Evaporative Air Coolers with a documented U.S. value of $100,000 was
exported to Taiwan for $2000 in repairs, and then reimported into the U.S. Which of the
following value(s) and classification(s) apply to the Evaporative Air Coolers?

  A. $98,000 under 9802.00.5060
  B. $102,000 under 8479.60.0000
  C. $100,000 under 8479.60.0000 and $2000 under 9802.00.5060
  D. $100,000 under 9802.00.5060 and $2000 under 8479.60.0000
  E. $102,000 under 9802.00.5060
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49. Seller S offers the following quantity discounts on the goods purchased by the importer prior
to their importation.

       - 1 to 49 units - no discount
       - 50 to 99 units - 5% discount
       - Over 100 units - 10% discount

In the first case, importer A purchases and imports 60 units in a single shipment. The
invoice price reflects a 5% discount. In the second case, importer B purchases 60 units in a
single transaction at a price which reflects a 5% discount but imports them in 3 separate
shipments each comprising 20 units. What is the customs value of the imported
merchandise in both cases?

       A. In both cases, the customs value is the price actually paid or payable for the imported
       goods reflecting a 5% discount.
       B. In the first case, the customs value is the price actually paid or payable for the
       imported goods reflecting a 5% discount. In the second case, the customs value is
       the price actually paid or payable for the imported goods reflecting no discounts.
       C. In both cases, the customs value is the price actually paid or payable for the imported
       goods reflecting a 10% discount.
       D. In the first case, the customs value is the price actually paid or payable for the
       imported goods reflecting a 5% discount. In the second case, the customs value is
       the price actually paid or payable for the imported goods reflecting a 10% discount.
       E. In both cases, the customs value is the price actually paid or payable for the imported
       goods reflecting no discounts.

50. The importer, Company A, imports 1,000 batteries from an unrelated overseas seller at a
price of $0.50 CIF per battery. The overseas seller buys the batteries in bulk from an
overseas manufacturer. Company A requires each battery to be individually wrapped in
polythene with a cardboard backing for display at retail outlets in the United States.
Company A provides the polythene and cardboard backing materials free of charge to the
overseas seller. Company A obtains the materials from a supplier in the United States at a
cost of $40 for the quantity required to wrap 1,000 batteries. The seller of the imported
batteries arranges for an overseas packing company to carry out the
wrapping/packing. This company charges the seller of the imported goods, $60 per 1,000
batteries for this service. The documents show that the total overseas freight and
insurance costs totaled $10.

What is the customs value in the United States for a shipment of 1,000 batteries?

       A. $530
       B. $500
       C. $600
       D. $540
       E. None of the above.
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                                   Category VII – Drawback


51. Which of the following documents is an acceptable proof of export for drawback purposes?
       A.   Notice of Intent to Export
       B.   Certificate of Delivery
       C.   Certificate of Manufacture and Delivery
       D.   Bill of lading with laden on board date
       E.   Waiver of Prior Notice of Intent to Export

52. When can a claimant amend an unliquidated drawback claim?
       A. Claims may be amended at any time provided the claim is unliquidated
       B. Within 90 days of the date the claim was received by CBP
       C. Within 180 days of the date the claim was received by CBP
       D. Within 3 years after the date of exportation or destruction of the articles which are the
       subject of the original drawback claim
       E. Within 5 years after the date of exportation or destruction of the articles which are the
       subject of the original drawback claim


53. Based on the information below, what is the claimed amount for the merchandise processing fee
(MPF) on an Unused Direct Identification 1313(j)(1) drawback claim?

   •   Imported merchandise:
       500 bikes ($200 per unit) $100,000
       500 spare parts ($175 per unit) $87,500
       Invoice value $187,500
       Less Non-Dutiable Charges (NDC) -$2,500
       Total Entered Value $185,000
       Total MPF paid $485.00
       MPF rate .3464%

   •   Exported merchandise for drawback purposes: 200 bikes

       A. $103.47
       B. $102.43
       C. $138.56
       D. $137.17
       E. $480.15
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                          Category VIII – Intellectual Property Rights


54. What is the difference between restricted gray market goods and goods bearing counterfeit
marks?
        A. There is no difference. Gray Market and counterfeit goods are considered the same.
        B. Gray Market goods are harder to distinguish than counterfeit goods.
        C. The seizure process is different between Gray Market and counterfeit goods.
        D. Gray Market goods bear a trademark or trade name which has been applied with the approval
        of the trademark owner as genuine and is recorded with Customs and Border
        Protection.
        E. Gray Market products are of lesser quality products just like counterfeit products.

55. If imported merchandise is detained because CBP suspects it bears a counterfeit version of a
mark that is registered with the U.S. Patent and Trademark Office and recorded with CBP, and
the importer, upon written notification, does not provide information within seven days of such
notification that establishes to CBP’s satisfaction that the suspect mark is not counterfeit, or
provides information that is insufficient to establish that the suspect mark is not counterfeit, CBP
may disclose to the right holder:

        A. The entry documents and a sample or digital images of the merchandise including
        serial numbers, dates of manufacture, lot codes, batch numbers, universal product
        codes or other identifying marks appearing on the merchandise or its retail packaging
        B. The names and addresses of the exporter and importer
        C. The entry documents and the name and address of the manufacturer
        D. A sample or digital images of the merchandise including serial numbers, dates of
        manufacture, lot codes, batch numbers, universal product codes or other identifying
        marks appearing on the merchandise or its retail packaging, but no entry documents
        E. All of the above
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56. While examining your client’s shipment of 1,000 handbags at the container examination
station, CBP discovered that the goods bear a mark suspected of infringing a trademark
associated with a well-known designer. The designer’s mark is registered on the Principal
Register of the U.S. Patent and Trademark Office and recorded with CBP. The suspect mark is
not identical with or substantially indistinguishable from the registered and recorded mark;
rather, CBP determines that it copies or simulates the registered and recorded mark and,
consequently, detains the handbags. Which of the following options is available to the importer
to obtain relief from detention within 30 days?

       A. The importer may remove or obliterate the suspect marks from the handbags in such a
       manner that they are incapable of being reconstituted
       B. The importer may label the merchandise with the following statement: “This product
       is not a product authorized by the United States trademark owner for importation and is
       physically and materially different from the authorized product”
       C. The importer may file a petition under 19 CFR pt. 171, persuasively arguing that the
        suspect marks do not actually so resemble the recorded mark as to be likely to confuse
       the public
       D. The importer may claim the personal use exemption under 19 CFR 148.55
       E. None of the above
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57. Which of the following shipments does not contain restricted gray market merchandise as defined
in 19 C.F.R. § 133.23?


       A. A shipment of jeans, bearing a trademark registered and recorded in the United States,
       applied by a U.S. trademark owner's foreign licensee independent of the U.S. trademark
       owner.
       B. A shipment of shoes, bearing a trademark registered and recorded in the United States,
       applied under the authority of a foreign trademark owner other than the U.S. owner, a
       parent or subsidiary of the U.S. owner, or a party under common ownership or control
       with the U.S. owner, to whom the U.S. owner sold the foreign title.
       C. A shipment of jackets, bearing a trademark registered and recorded in the United
       States, applied under the authority of a foreign trademark owner other than the U.S.
       owner, a parent or subsidiary of the U.S. owner, or a party under common ownership or
       control with the U.S. owner, from whom the U.S. owner acquired the domestic title.
       D. A shipment of books, bearing a U.S. registered and recorded trademark applied by a
       foreign subsidiary of the U.S. owner, determined by CBP to be different from the books
       authorized by the U.S. owner for importation or sale in the United States. The books
       feature a conspicuous label that they are not authorized by the U. S. owner for
       importation into the U.S. and are physically and materially different from the authorized
       ones.
       E.. A shipment of shirts, bearing a genuine foreign trademark owned by a foreign
       trademark owner, identical with or substantially indistinguishable from a trademark
       registered and recorded in the United States. The shipment was imported without the
       authorization of the U.S. owner who is not related to the foreign owner.
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58. Regarding “prohibited or restricted importations” relative to “articles involved in unfair
competition,” after the U.S. International Trade Commission issues an exclusion order pursuant to
19 U.S.C. § 1337, an importer of record has the following option(s) with respect to the entry of
merchandise subject to that exclusion order:

       A. The importer may enter merchandise subject to an exclusion order if the
       importer’s basic importation bond contains a provision authorizing such action.
       B. The importer may enter merchandise subject to an exclusion order for thirty
       days after the exclusion order issues, at which point the Commission’s exclusion
       order becomes final and entry is no longer permitted.
       C. Until the time the Commission’s exclusion order becomes final, the importer
       may enter merchandise subject to the exclusion order by filing a single entry
       bond with CBP in an amount determined by the U.S International Trade
       Commission to be sufficient to protect the complainant from any injury.
       D. Until the time the Commission’s exclusion order becomes final, the importer
       may enter merchandise subject to the exclusion order by filing a single entry
       bond with CBP in an amount set by the port director to ensure compliance with
       the customs and related laws.
       E. None of the above because an exclusion order is effective on the date it is
      issued and merchandise subject to that exclusion order cannot be entered lawfully
      after this point.
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                                      Category IX – Bonds


59. A principal is permitted to file drawback claims under the exporter's summary procedure and
the principal’s claims are paid prior to final determination. The bond for that principle must
include an agreement that contains all of the following conditions except:
       A. The principal correctly described the exported articles in the claim
       B. The principal agrees to provide proof of export upon request
       C. The principal agrees to pay any charges due CBP as provided by law or regulation
       D. Correctly stated the facts of exportation in the claim; the principal and surety, jointly
       and severally agree to refund, on demand, any money claimed by CBP to have been
       erroneously paid as a result of an incorrect statement on the drawback claim
       E. The Principal is entitled to the drawback claimed

60. Under 19 CFR 113 Custom Bonds which statement is FALSE.
       A. The surety, as well as the principal, remain liable on a terminated bond for obligations
       incurred prior to termination
       B. The amount of any CBP bond must not be less than $100, except where the law or
       regulation expressly provides that a lessor amount may be taken
       C. Each bond must bear the date it was executed
       D. If a bond is terminated, all new customs transactions may be charged against the bond
       E. No person will be accepted as surety on any CBP bond while in default as principal
       on any other CBP bond


61. Which one of the following bonds is required to be Single Entry?
       A. Basic Custodial Bond
       B. Control of Containers and instruments on International traffic Bond
       C. Commercial Gauger Bond
       D. Production of Bill of Lading Bond
       E. Foreign Trade Zone Operator Bond
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                             Category X – Free Trade Agreements


62. The NAFTA Certificate of Origin must be retained in the _____.
        A. U.S. by the importer until notification of liquidation is received from CBP
        B. NAFTA country of origin by the producer for one year after liquidation
        C. NAFTA country of origin by the producer for five years after liquidation
        D. U.S. for five years after entry of the good with all relevant documentation
        E. NAFTA country of origin for five years after date of liquidation


63. If the port director/center director finds a NAFTA Certificate of Origin to be illegible,
defective or incomplete, the importer must be given a period of not less than _____ to present a
corrected certificate.
      A.      5 working days
      B.      5 calendar days
      C.      10 calendar days
      D.      10 working days
      E.      30 calendar days

64. The chemical Rutoside will be imported into the U.S. from Germany in powder form,
packed in drums. The tariff number is 2938.10.00.00, which qualifies for use of the Special
Program Indicator (SPI) K. What other reference must comply to provide for a free rate of duty?
   A.   Note 3 for HTS Chapter 29
   B.   General Note (GN) 5
   C.   Pharmaceutical Appendix
   D.   Chemical Appendix
   E.   No other reference is required with SPI K

65. Under the North American Free Trade Agreement (NAFTA), which of the following
processes does NOT confer origin for verification of heading 2710?

        A. Catalytic hydroprocessing
        B. Cracking
        C. Vacuum distillation
        D. Eliminating solvents, including solvent water
        E. Atmospheric distillation
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                               Category XI – Fines and Penalties


66. A broker unknowingly employs a convicted felon and 1 year after employment discovers the
existence of such a conviction. Which penalty action listed below would not lie?

       A. If he seeks approval of the Secretary within 30 days after discovery of the existence of
       the conviction, no penalty will be assessed
       B. If he seeks approval at some time after 30 days from the date of discovery, a $5,000
       penalty would be assessed
       C. If he does not seek approval until after Customs becomes aware of the violation, a
       $10,000 penalty would be assessed
       D. If he does not seek approval until after Customs becomes aware of the violation, a
       $25,000 penalty would be assessed
       E. If he seeks approval, but is denied, and continues to employ the convicted felon, a
       $30,000 penalty would be assessed



67. A false statement contained in a petition may subject the petitioner to prosecution under the
provisions of:
       A. 18 U.S.C. 1001
       B. 19 U.S.C. 1497
       C. 19 U.S.C. 1592
       D. 19 U.S.C. 1641
       E. 19 U.S.C. 1593a
68. Blue-sky customs broker is filing a petition for the restoration of sale under section 613,
Tariff Act of 1920, as amended. Blue-sky’s petition must be file when:
       A. within 60 days when Blue-sky is notified in writing
       B. within 90 days when Blue-sky is notified in writing
       C. must be filed within1 month after the date of sale
       D. must be filed within 3 months after the date of sale
       E. no time limits is required.
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69. Petitions for relief from seizures must be filed within _________ from the date of mailing of
the notice of seizure.
       A. 5 days
       B. 10 days
       C. 30 days
       D. 60 days
       E. 90 days
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                       Category XII – Foreign Trade Zones/Warehouses


70. Which of the following terms describe the association of final products removed from or
consumed within a petroleum refinery foreign trade subzone to feedstock admitted into the
petroleum refinery foreign trade subzone in the current or prior manufacturing period?

        A. Relative value
        B. Feedstock factor
        C. Producibility
        D. Attribution
        E. Privileged foreign status


71. What status designation should be applied to merchandise taken into a Foreign Trade Zone
for the sole purpose of exportation, destruction or storage?

     A. Privileged Foreign Status
     B. Non-Privileged Foreign Status
     C. Domestic Status
     D. Activated Status
     E. Zone-Restricted Status

72. Customs warehouses used for the storage of heavy and bulky imported merchandise are
designated as what class of warehouse?
   A.   Class 4
   B.   Class 5
   C.   Class 7
   D.   Class 8
   E.   Class 11

73. A _______________ is used to apply for admission of merchandise into a Foreign Trade
Zone.

   A.   CBP Form 28
   B.   CBP Form 214
   C.   CBP Form 301
   D.   CBP Form 3461
   E.   CBP Form 7501
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                                     Category XIII – Marking



74. Which article is NOT exempt from country of origin marking requirements when imported
into the United States?

       A. A unicycle that was manufactured in 1953
       B. A clothes dryer machine made in Wisconsin
       C. An original oil painting produced in France
       D. A lithograph printed poster produced in Italy
       E. A set of glasses to be used by the importer

75. Which of the below is not an approved marking method?
       A. Goods of a NAFTA country may be marked with the name of the country of
       origin in English, French or Spanish
       B. Country of Origin marking shall be marked in a conspicuous place, legibly,
       indelibly, and permanently
       C. When technically infeasible to permanently mark a good of a NAFTA country, the
       article may be marked by means of a string tag or adhesive label securely affixed
       D. Articles marked with paper sticker labels must be affixed in a conspicuous place and
       must be sufficiently permanent
       E. The country or origin label may be sewn into the inside of the pocket


76. Any intentional removal, defacement, destruction, or alteration of a marking of the country of
origin required by section 304, Tariff Act of 1930, as amended (19 U.S.C. 1304), and 19 CFR
134 in order to conceal this information may result in criminal penalties of :
       A. up to $1,000 and/or imprisonment for 1 year, as provided in 19 U.S.C. 1304(h).
       B. up to $2,000 and/or imprisonment for 1 year, as provided in 19 U.S.C. 1304(h).
       C. up to $3,000 and/or imprisonment for 1 year, as provided in 19 U.S.C. 1304(h).
       D. up to $4,000 and/or imprisonment for 1 year, as provided in 19 U.S.C. 1304(h).
       E. up to $5,000 and/or imprisonment for 1 year, as provided in 19 U.S.C. 1304(h).


77. Which item is listed on the j-list?
       A. Bundles of red-cedar shingles
       B. Finished Leather
       C. Snelled Fish Hooks
       D. Barbed Wire
       E. Sponges
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                              Category XIV – Power of Attorney


78. How long must a Broker retain a revoked Powers of Attorney to be retained by a broker?

    A. For 5 years after the date of revocation
    B. For 3 years after the date the client ceases to be an active client
    C. Until client advises no longer needed
    D. 12 months after the last entry the broker prepared on behalf of client
    E. As long as broker is in business


79. Powers of Attorney issued by a partnership shall be limited to a period not to exceed
____________ from the date of execution.
       A. 1 year
       B. 2 years
       C. 3 years
       D. 5 year
       E. 10 years

80. Which is the best form to use to execute a Corporate Surety Power of Attorney?
       A. 4455
       B. 4811
       C. 5291
       D. 5297
       E. 7501




                                          STOP
                              THIS IS THE END OF THE TEST.
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You may use the remaining time to go back and check your answers.
Please double check that your address is CORRECTLY bubbled in on your answer sheet.
Your entire address must be filled in, including apartment numbers. Incorrect bubbling of
your address will delay notifications of the results of the exam. If your address does not fit into
the appropriate boxes, provide the Test Administrator with your full address AFTER the
exam. If you have finished double checking your information and would like to participate in
the survey, please turn the page and respond to the following questions.


Section 3: Post-Examination Process Evaluation Survey

This survey is being administered to collect information about the examination process for the
Customs Broker Exam. The survey is completely voluntary and your responses will have no impact
on your scores for this exam.

1) How difficult was the examination?

A) Very Easy
B) Easy
C) Moderate
D) Difficult
E) Very Difficult

2) How clear were the examination questions?

A) Very clear
B) Clear
C) Neither clear nor difficult to understand
D) Difficult to understand
E) Very difficult to understand

3) Would you have liked more, less, or the same amount of time for this examination?

A) Less time – I finished early
B) Same amount of time – it was just right
C) Slightly more time – to consider or review my answers
D) More time – I did not finish the examination
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                      EXHIBIT B

DECLARATION OF JENNELLE CRAY
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY M. REIF, JUDGE
_________________________________________
BYUNGMIN CHAE,                              :
                                            :
                                            :
                    Plaintiff,              :                    Court No. 20-00316
                                            :
              v.                            :
                                            :
ALEJANDRO MAYORKAS, in his capacity as the :
Secretary of Homeland Security, JANET       :
YELLEN, in her capacity as the Secretary of :
Treasury, THE UNITED STATES DEPARTMENT :
OF HOMELAND SECURITY, THE UNITED            :
STATES DEPARTMENT OF TREASURY,              :
UNITED STATES CUSTOMS AND BORDER            :
PROTECTION, and THE UNITED STATES OF :
AMERICA,                                    :
                                            :
                    Defendant.              :
__________________________________________:

Declaration of Certification of Administrative Record:

1.     I am Jennelle Cray, Acting Director, Commercial Operations, Revenue & Entry, U.S.
       Customs and Border Protection (CBP).

2.     I am the current custodian of records for administrative appeals of U.S. Customs and
       Border Protection’s customs broker license denial cases.

3.     On August 19, 2021, the Commercial Operations, Revenue & Entry Division prepared
       the administrative record in the above-referenced action, which consisted of what CBP
       considered a complete list of the documents and materials specified in paragraphs (1), (2)
       and (3) of U.S. Court of International Trade (CIT) Rule 73.3(a). See ECF No. 36.

4.     Since the administrative record was filed, CBP has discovered that the following
       document was inadvertently omitted from the administrative record. The document is
       attached to the Government’s Motion to Correct the Record: Exhibit A, April 25, 2018
       Customs Broker License Examination Series 840.

5.     CBP was aware of the contents of this document and, in addition to the documents
       referenced by CIT Rule 73.3, would have been considered directly or indirectly by CBP
       when making the challenged decisions.
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6.    I declare under penalty of perjury that the foregoing is true and correct to the best of my
      knowledge.

Signed February 24, 2022:




Jennelle Cray
Acting Director, Commercial Operations, Revenue & Entry,
Trade Policy & Programs, Office of Trade
U.S. Customs and Border Protection
